             Case 1:15-cv-06049-JSR Document 26 Filed 10/29/15 Page 1 of 6
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ROSARIO,
                                                      No. 15CV6049-LTS-DCF
                                  Plaintiff(s),
                                                      PRE-TRIAL SCHEDULING ORDER

                -against-

MIS HIJOS DELI CORP.,

                                  Defendant(s).


LAURA TAYLOR SWAIN, DISTRICT JUDGE:


       A pre-trial conference was last held in this matter on October 29, 2015. The Court hereby
makes the following provisions for scheduling and trial in this matter. To the extent copies of this
Order were not distributed to all parties in open court or posted on ECF in an ECF case, Plaintiffs
counsel 1 must serve a copy of this Pre-Trial Scheduling Order on counsel for each other party and
on each unrepresented party within fourteen ( 14) days from the date hereof. A copy of this Pre-Trial
Scheduling Order shall be served with any subsequent process that brings in additional parties. Proof
of such service must be filed promptly with the Court.


1.      Amendments to Pleadings, Additional Parties

        All applications to amend pleadings or join parties, or amendments or joinders as of right,
        must be made by November 30, 2015.


2.      Discovery

        a.      All non-expert witness discovery in this matter must be completed by May 2, 2016.

        b.      Each party must make its expert witness disclosures described in Rule 26(a)(2) of the
                Federal Rules of Civil Procedure concerning expert(s), if any, to be offered on issues
                as to which such party has the burden of proof or otherwise in support of the party's


                As used in this Pre-Trial Scheduling Order, the term "counsel" means, in the case
                of an individual party who is proceeding Pro-se, such party.
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             Case 1:15-cv-06049-JSR Document 26 Filed 10/29/15 Page 2 of 6




                 case, no later than 45 days before the date set forth in paragraph 2.c. below.
                 Rebuttal disclosures must be made no later than 21 days before the date set forth
                 in paragraph 2.c. below. Such disclosures must be made in writing, signed and
                 served, but must not be filed with the Court.

        c.       All expert witness discovery must be completed by May 2, 2016.


3.      Dispositive Pre-Trial Motions

        Dispositive motions, if any, seeking resolution, in whole or in part, of the issues to be raised
        at trial must be served and filed on or before June 3, 2016. No pre-motion conference is
        required, but the parties must comply with the consultation and certification requirements
        of Paragraph A.2.b. of the Individual Practices Rules of the undersigned. If the movant
        believes the motion, if granted, would obviate entirely the necessity of a trial in this matter,
        the movant may so state in a separate MOTION FOR STAY, which must be served and filed
        with the moving papers, and may in such stay motion request that the Court defer the
        remaining requirements of this Order pending its decision on the dispositive motion. Unless
        the Court grants such stay motion, the filing of a dispositive motion does not affect the
        parties' obligations under this Order.


4.      Other Pre-Trial Motions

        Other motions, including but not limited to motions in limine relating to evidentiary issues,
        must be filed and served no later than thirty (30) days before the date set forth in
        paragraph 9 below, unless otherwise allowed by the Court for good cause shown.


5.      Preliminary Conference

        Counsel for the parties must confer preliminarily at least forty-five (45) days before the date
        set forth in paragraph 9 below. At or prior to this preliminary conference, counsel shall
        provide copies of each proposed exhibit for inspection by opposing counsel and for waiver
        or noting of objection and shall make the disclosures required by Fed. R. Civ. P. 26(a)(3).
        At the preliminary conference, counsel must discuss (a) settlement, (b) any anticipated
        further motion practice, including motions in limine, and (c) the matters required to be
        addressed in their Joint Pre-Trial Statement, as set forth in paragraph 6 below.

6.      Joint Pre-Trial Statement

        Counsel for all parties shall confer and shall prepare, execute and file with the Court, with

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             Case 1:15-cv-06049-JSR Document 26 Filed 10/29/15 Page 3 of 6




        one courtesy copy provided to chambers of the undersigned, no later than seven (7) days
        before the date set forth in paragraph 9 below, a single document captioned JOINT PRE-
        TRIAL STATEMENT, which shall include:

        a.      A concise statement of the legal issues to be decided.
        b.      A concise statement of the material facts not in dispute.
        c.      A witness list containing the names, addresses and a brief summary of the testimony
                of each witness each party will call. A person not identified on this list may not be
                called during a party's case in chief.
        d.      A final exhibit list in tabular form containing the following information for all
                exhibits to be offered at trial. Exhibits not identified on this list may not be offered
                during a party's case in chief. The format shall be substantially as illustrated below.


  Exhibit Number or                Description         Objection(s), if any              Status
        Letter



                 1.       Plaintiffs exhibits shall be identified by numbers (e.g., Plaintiffs Exhibit 1,
                          Plaintiffs Exhibit 2) and Defendant's Exhibits shall be identified by letters
                          (e.g., Defendant's Exhibit A, Defendant's Exhibit B). If there is more than
                          one Plaintiff or Defendant, the parties shall coordinate their designations so
                          as to avoid duplication.

                 11.      In the "Objection(s)" column of the table, one asterisk should be entered to
                          indicate exhibits to which no party objects on grounds of authenticity, and
                          two asterisks should be entered to indicate exhibits to which no party objects
                          on any ground. Any objections must be explained briefly, with citation to the
                          relevant Federal Rule of Evidence or other legal authority.

                 111.     The "Status" column should be left blank, for later use by the Court.

        e.       A list of the depositions, if any, to be offered at trial, with designations and notation
                 and explanation (including citation to the relevant legal authority) of any objections
                 to the designations.
        f.       Stipulations, if any, as to the admissibility of exhibits and depositions.
        g.       Each party's statement as to whether the case is to tried before a jury.
        h.       A statement as to whether or not all parties consent to trial ofthe case by a magistrate
                 judge (without identifying which parties have or have not so consented).
        1.       Each party's estimate of the time required for presentation of its case.

        When feasible, the Joint Pre-Trial Statement should also be submitted to Chambers on a CD-

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             Case 1:15-cv-06049-JSR Document 26 Filed 10/29/15 Page 4 of 6




        Rom in WordPerfect version 6 or higher format.

        The following documents must be annexed to, or submitted to Chambers concurrently with,
        the Joint Pre-Trial Statement:

                 One copy of each documentary exhibit to be offered at trial. Such exhibits must be
                 pre-marked. In the event that a party intends to offer more than 15 documentary
                 exhibits at the trial, the exhibits should be tabbed and included in a binder for easy
                 reference. On the day of trial, counsel shall bring additional pre-marked copies for
                 use by witnesses, the courtroom deputy, the court reporter, opposing parties and (if
                 applicable) the jury.


7.      Proposed Voir Dire, Requests to Charge and Verdict Form

        a.       In a case to be tried before a jury, and no later than seven (7) days before the Final
                 Pre-Trial Conference date set forth in paragraph 9 below:

                 1.       each party shall serve on each other party and file with the Court its proposed
                          voir dire and verdict form. Prior to service and filing of the proposed voir
                          dire and verdict form, counsel shall provide copies to opposing counsel for
                          inspection and noting of objection; and

                 11.      The parties must file a single document captioned JOINT REQUESTS TO
                          CHARGE, which must include the full text of all of their proposed jury
                          instructions, with source citations. If the parties are not in agreement on a
                          particular charge, the disputed language must be highlighted and any
                          counterproposal(s) presented together with the disputed section. Disputed
                          language must be accompanied by a brief explanation of the objection(s),
                          with citations to the relevant legal authority.

        b.       When feasible, proposed voir dire, requests to charge and verdict forms shall also be
                 submitted to Chambers on a CD-Rom in WordPerfect or Microsoft Word format.


8.      Proposed Findings of Fact and Conclusions of Law

        If the case is not to be tried before a jury, each party shall serve on each other party and file
        with the Court its proposed findings of fact and conclusions of law, which shall be broken
        down into separately enumerated paragraphs, no later than seven (7) days before the Final
        Pre-Trial Conference date set forth in the following paragraph. When feasible, the
        proposed findings of fact and conclusions of law should also be submitted on a CD-Rom in

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             Case 1:15-cv-06049-JSR Document 26 Filed 10/29/15 Page 5 of 6




        WordPerfect or Microsoft Word format.

9.      Final Pre-Trial Conference

        The parties are directed to appear before the undersigned in Courtroom No. 12D2, 500 Pearl
        Street, New York, NY 10007, for a final pre-trial conference on August 5, 2016, at 11:00
        a.m. The purpose of the conference is to explore the possibility of settlement, schedule the
        trial (which will, the Court's calendar permitting, commence within two weeks after the
        conference) if necessary, to review the issues to be tried and the proof to be offered in
        connection therewith, and to resolve any remaining pre-trial issues.

        The counsel who plan to try the case must appear at such conference. Counsel attending the
        conference must seek settlement authority from their respective clients prior to such
        conference. If counsel is not granted such authority, the client must be present in person or
        available by telephone so that a settlement can be consummated if possible. "Settlement
        authority," as used in this order, includes the power to enter into stipulations and make
        admissions regarding all matters that the parties may reasonably anticipate discussing at the
        pre-trial conference including, but not limited to, the matters enumerated in this Pre-Trial
        Scheduling Order.

        The Court will not adjourn the final pre-trial conference or excuse the appearance of a party
        or its counsel unless a stipulation of settlement is on file prior to the pre-trial conference date
        set forth in this paragraph 9.


10.     No Adjournment of Deadlines

        The deadlines set forth in this Pre-Trial Scheduling Order will not be adjourned except in the
        Court's discretion upon good cause as shown in a written application signed by counsel,
        stating whether the other part(ies) consent, and served upon all parties. "Good cause," as
        used in this paragraph, does not include circumstances within the control of counsel or the
        client.


11.     Non-Compliance with This Order

        In the event that any party fails to comply with this Pre-Trial Scheduling Order, or is not
        prepared to go forward with trial on the date scheduled, the Court may impose sanctions or
        take other action as appropriate. Such sanctions and action may include assessing costs and
        attorney's fees, precluding evidence or defenses, dismissing the action, granting judgment


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            0n the day of the conference, check the electronic board in the lobby to be certain of the proper courtroom.

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             Case 1:15-cv-06049-JSR Document 26 Filed 10/29/15 Page 6 of 6




        by default, and/or other appropriate penalties.

        In particular, the parties are advised that the Court may, without further hearing, render
        judgment in favor of the adverse party if a party is not prepared to proceed to trial within two
        weeks of the scheduled final pre-trial conference date.


12.     Other Matters

        The parties must make their FRCP 26(a)(l) disclosures by November 12, 2015.

        The parties must begin meeting with Judge Freeman for settlement purposes promptly, and
        in no event later than January 22, 2016.


        IT IS SO ORDERED.


Dated: New York, New York
       October 29, 2015


                                                     ~SWAIN
                                                        United States District Judge




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